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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 BAYOU CITY WATERKEEPER,                          §
                                                  §
                                Plaintiffs,       §
 v.                                               §    CIVIL ACTION NO. 4:18-CV-3369
                                                  §    JUDGE EWING WERLEIN, JR.
 CITY OF HOUSTON,                                 §
                                                  §
                                Defendant.        §
                                                  §


         Plaintiff Bayou City Waterkeeper’s Certificate of Financially Interested Persons

       Bayou City Waterkeeper submits this certificate of financially interested parties for this

litigation. Because this action is being brought against a municipality and pursuant to the Clean

Water Act, the following entities are financially interested in this litigation: the City of Houston,

the State of Texas, and the United States of America. Bayou City Waterkeeper has no parent,

subsidiary, or affiliated corporations who are financially interested in this litigation. All known

attorneys of record for Bayou City Waterkeeper are listed below.


       Respectfully submitted on October 9, 2018.


                                                       By: /s/ David Frederick
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                                       Certificate of Service

       I certify that on October 9, 2018, I electronically filed this Plaintiff Bayou City

Waterkeeper’s Certificate of Financially Interested Persons using the CM/ECF system, which

automatically sends notice and a copy of the filing to all counsel of record.


                                                      /s/ David Frederick
                                                      David Frederick
                                                      Attorney for Bayou City Waterkeeper




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